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 8                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10    SHAKIR KHAN, UMER HAYAT,                          Case # ____________________
      ADNAN BILAL, ADIL ISMAEL, SAAD
11    KHAN, BUSHRA SHAHEEN, NASAR
      KHAN, MIR AFZAL KHAN, SOMIYA
12    BIBI, MUHAMMAD ASIF, SAFDAR
      KHAN, and MUHAMMAD BILAL
13    KHAN,

14                                 Plaintiffs,
      v.
15
      THE CITY OF LODI, CALIFORNIA,
16    LODI MAYOR MIKEY HOTHI, AND
      THE CITY COUNCIL OF THE CITY OF
17    LODI,

18                                  Defendant.

19

20                                               EXHIBITS

21

22   EXHIBIT A - Transcript of February 16, 2023, Jail Interview.

23   EXHIBIT B - Handwritten agreement.

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                                                     EXHIBIT A
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Shakir Khan (00:30):
Hey, how you doing?

Speaker 1 (00:31):
Good, how are you?

Shakir Khan (00:31):
Good. [inaudible 00:00:33]

Speaker 1 (00:33):
You sure? (laughing)

Shakir Khan (00:33):
Thank God, I can... feel so... man, I, I don't even know I'm gonna end up in this state.

Speaker 1 (00:33):
Yeah. So what, they just came and picked you up this morning?

Shakir Khan (00:33):
Mm?

Speaker 1 (00:44):
They came and picked you up this morning, or how did it?

Shakir Khan (00:46):
Um, they haven't let me contact my wife or anything. You know, they just picked me up from y house.
We were sleeping. They knock on the door, and they say, "We're arresting you for election fraud." And I
said, "Show me the warrant." So they, you know, they didn't show me nothing, and they just grabbed
me and just came in like that. And I, I don't know what's gonna happen. I, I have a court date tomorrow.

Speaker 1 (01:07):
Okay.

Shakir Khan (01:07):
Hopefully my lawyer will, you know, talk about that. But I don't know what's gonna happen right now.

Speaker 1 (01:14):
You still have Alan going up tomorrow, or?

Shakir Khan (01:15):
Uh, pardon?

Speaker 1 (01:17):


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Alan Sawyer's still [inaudible 00:01:19]?

Shakir Khan (01:18):
Yeah. Alan is gonna be a- appearing tomorrow, but I've still gotta contact family members, 'cause I have
no contact right now.

Speaker 1 (01:24):
Oh, okay. How come, how come they didn't let you call anyone?

Shakir Khan (01:27):
I don't know. They just, they say you're (laughing) like, uh, high, you know, like they keep me away from
everybody. Usually when you're in the lobby, they let you talk to family members, but they keep me
inside, so hopefully I'll be able to call somebody.

Speaker 1 (01:40):
Yeah. Well, to let you know, it's on national news.

Shakir Khan (01:42):
Huh?

Speaker 1 (01:43):
This whole thing is on national news. They got-

Shakir Khan (01:45):
Well, they're talking about 2020 elections. That's like, three years already. Like, we're in the fourth year
right now. And I don't even know what they're, fictitious name, where does fictitious name? They're,
they say that you, you're tried with fictitious name. I don't even know what that is.

Speaker 1 (02:03):
Yeah. But wait, oh, fictitious names.

Shakir Khan (02:06):
Yeah.

Speaker 1 (02:06):
Oh, I think-

Shakir Khan (02:06):
What is that?

Speaker 1 (02:07):
I think it's if you pretend to be somebody else, or you like, I think what they're saying, I mean, I don't
know. It's all, they did a whole press conference.


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Shakir Khan (02:17):
Well, you Shak, you know, that's what I go by, I use for my election name. I don't-

Speaker 1 (02:20):
I think they're saying you, maybe you signed off for other people for ballots or for-

Shakir Khan (02:23):
They what?

Speaker 1 (02:24):
Like you signed off for other people for ballots. And, uh, like you know the signature where you gather
to be on the ballot? The-

Shakir Khan (02:30):
Yeah, but the people signed.

Speaker 1 (02:32):
Oh, you don't have your hearing aid?

Shakir Khan (02:32):
Yeah, no, they, I, I, I, I, they didn't let me grab my hearing aid.

Speaker 1 (02:34):
Oh, okay. Um, the, the petition you signed to, to be qualified for the ballot-

Shakir Khan (02:42):
Yeah, yeah.

Speaker 1 (02:42):
... I think they're saying that there was some falsifications there.

Shakir Khan (02:45):
No, there's absolutely no. Everybody-

Speaker 1 (02:47):
Like that your brother was in Pakistan, and then you signed for him, and it was-

Shakir Khan (02:51):
No. No. It's absolutely wrong. They're all the people that, uh, uh, sign on that, it was the people that
were here. So, I mean, they're adding stuff, you know. They could have just added that at the beginning,
but they [inaudible 00:03:04], I know for sure they just want me out of the office. And I talked to Steven,
I talked to him about, or yesterday, and, and I talked to him. You know, I said, "I'm gonna fight this until
the last minute." You know, I don't care, right? Uh, I don't know what your advice or suggestion is.


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Speaker 1 (03:22):
I think you should step aside.

Shakir Khan (03:24):
Huh?

Speaker 1 (03:24):
I think you should resign.

Shakir Khan (03:26):
Resign, right? It's better?

Speaker 1 (03:27):
It looks bad. Think about your family. You got your kid, you know. It's not, is it even worth it, at this
point? You should just step aside. 'Cause the, the longer you're on the city council, the longer these
stories go. It's one thing to be here. The worst thing is, you have your kids watching.

Shakir Khan (03:43):
Yeah, watching.

Speaker 1 (03:44):
Like, why even deal with that?

Shakir Khan (03:46):
Yeah.

Speaker 1 (03:46):
You know, how about you fight it, and if you're cleared of all charges, you'll win in next election.

Shakir Khan (03:53):
Okay. Okay. Well, I'll probably do that then.

Speaker 1 (03:55):
It's worth it, Shak.

Shakir Khan (03:56):
Yeah, yeah, yeah.

Speaker 1 (03:56):
This isn't [inaudible 00:03:58].

Shakir Khan (03:58):



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I want to personally thank you for coming here, you know. And, and that's why I wanted to make sure I
get your advice.

Speaker 1 (04:04):
Yeah, no.

Shakir Khan (04:04):
I'll do that, you know.

Speaker 1 (04:06):
Yeah, I, I think just save yourself the headache. We'll, I'll, you know, I could, I'm happy to put out a
statement saying I talked to Council Member Khan. He agreed to resign. And I think that's the right
course of, I'm not gonna say anything to make it [inaudible 00:04:18].

Shakir Khan (04:17):
Yeah. I will talk with my lawyer yes... tomorrow, and then just have him, you know, make a statement. Is
that better?

Speaker 1 (04:23):
Yeah. Yeah. Well, uh, so if it's okay with you, I'd like to just, um, can I get a, a pen and a piece of paper?
Let, let me just write out something for you.

Shakir Khan (04:32):
Okay.

Speaker 1 (04:33):
And if you agree to it, then we can just sign right here.

Shakir Khan (04:35):
Okay.

Speaker 1 (04:36):
And then I can just, then I can go to the media, and at least it gets rid of the national. You know what I'm
saying?

Shakir Khan (04:40):
Okay. Yeah.

Speaker 1 (04:40):
I think-

Shakir Khan (04:41):
'Cause I know the media's going crazy right now, right?


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Speaker 1 (04:43):
Yeah.

Shakir Khan (04:43):
Outside. They came to me, they said the media was, uh, trying to talk to me, and I said no, you know?
And then, then, uh, so, uh, have you talked to Steve?

Speaker 1 (04:54):
I talked to Steve. I talked to Janice. I talked to everybody. Thank you.

Shakir Khan (04:57):
And what, what, what are they saying?

Speaker 1 (05:00):
They think you need to resign too.

Shakir Khan (05:01):
Should resign, right?

Speaker 1 (05:03):
Yeah. Yeah. I want to, I want to talk to somebody at the mosque too. And so, if you could recommend
somebody, I'd call there just so we're, I'm on the same page with him.

Shakir Khan (05:10):
Yeah. Uh, well, what they're gonna say, nothing, you know. They're not gonna say anything, so.

Speaker 1 (05:18):
Yeah. Okay. So I'm gonna write it from your point of view. Is that-

Shakir Khan (05:19):
Yeah, that's fine.

Speaker 1 (05:19):
Okay. Um.
(05:19):
Okay. So if you just sign at this line.

Shakir Khan (05:19):
Okay.

Speaker 1 (05:19):
So it says-


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Shakir Khan (06:46):
[inaudible 00:06:41] the best course of action at this time is for Shakir Khan to resign from the city
council, uh, until his name is, you know, cleared from the charges.

Speaker 1 (07:08):
Plans to fight the charges against him and clear his name. You want to put that?

Shakir Khan (07:30):
And, and you say you talked to Steve and Janice both?

Speaker 1 (07:32):
I talked to everybody. I talked to the district attorney. I talked to Rex.

Shakir Khan (07:35):
Rombay?

Speaker 1 (07:36):
I talked to Rex. I talked to Wakar.

Shakir Khan (07:38):
Okay.

Speaker 1 (07:38):
He hadn't even heard about it until I talked to him. I tried to talk to as many people as possible. Um.

Shakir Khan (07:43):
Okay. Yeah, I'll say [inaudible 00:07:44].

Speaker 1 (07:44):
Uh, they just all listened and said it makes sense for you to resign. I mean, Wakar didn't say one way or
the other, but I just didn't want Pakistani-

Shakir Khan (07:53):
Yeah, yeah.

Speaker 1 (07:53):
You know, I just wanted to talk to somebody from your community, too.

Shakir Khan (07:55):
Yeah, yeah. As long as the city attorney and city manager thinks it's better for the city, you know, I'll do
whatever is better for the city.

Speaker 1 (08:02):


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Appreciate that.

Shakir Khan (08:02):
Just [inaudible 00:08:03].

Speaker 1 (08:03):
Yeah.

Shakir Khan (08:03):
You know.

Speaker 1 (08:06):
So if you just, the line right below there, yeah. Yeah, there you go. Okay. I appreciate it, Shak. [inaudible
00:08:12]

Shakir Khan (08:11):
No problem, Mikey. Good luck, man, you know. Um, I'm gonna, you know, do whatever I can, you know,
to fight my charges. But good luck to you.

Speaker 1 (08:18):
Yeah.

Shakir Khan (08:19):
And it was nice, you know, um, work with leadership and with working with you and [inaudible
00:08:24], you know.

Speaker 1 (08:23):
Yeah.

Shakir Khan (08:25):
I'll try again.

Speaker 1 (08:26):
Yeah. And I'm praying that it all works out for you and your family [inaudible 00:08:29].

Shakir Khan (08:29):
Yeah. Yeah, well, hard time, this is a hard time, you know. They're after me like crazy. And I know this
was the whole reason. And, you know, they want this? I'll give it to them.

Speaker 1 (08:36):
Yeah. Okay. I appreciate it, Shak. Thanks a lot.

Shakir Khan (08:37):


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Thank you, Mikey. Take care.

Speaker 1 (08:37):
Yeah, you too.

Shakir Khan (08:37):
Take care, brother.

Speaker 1 (08:41):
Appreciate it, brother. Okay. All right. Stay safe.

Shakir Khan (08:42):
Thank you. Thank you. Yeah. Thank you.

Speaker 3 (08:42):
Just go on, go ahead and have a seat.

Shakir Khan (08:44):
Yeah.

Speaker 3 (08:44):
They'll come get you right out. Got my pen?

Speaker 1 (08:45):
Oh, sorry. I'll take that from you, Mayor.

Speaker 4 (08:45):
Thank you, sir. Okay.

Shakir Khan (08:53):
Excuse me-

Speaker 1 (08:54):
Thanks, Sarge.

Shakir Khan (08:54):
I can't, I can't use the phone?

Speaker 3 (08:57):
Yeah, we're doing that next. We'll take care of you right now.

Shakir Khan (08:59):
Thank you so much.

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Speaker 3 (09:00):
Mm-hmm. [inaudible 00:09:03]




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EXHIBIT B




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